From:                                JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Sent:                                Monday, July 8, 2024 5:54 PM
To:                                  Blumm, Nicky
Cc:                                  Armstrong, Iain
Subject:                             Re: [EXT] Slevin v. AB Hollywood



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   validating its authenticity.



I filed it today.


Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell


         On 07/08/2024 5:42 PM PDT Blumm, Nicky <nicky.blumm@lewisbrisbois.com> wrote:


         Hi Jessica,

         We see from Pacer that you have not yet filed the stipulated dismissal. Our client has had second thoughts and has withdrawn
         his permission to agree to stipulate to a dismissal at this time. Accordingly, please do not file the dismissal.

         We will be in touch once we have had an opportunity to meet with him regarding the state of the litigation.

         Thank you.

                                                                                       1

                                                                                                                                                           EXHIBIT A
                                                                                                                                                             1 of 16
Cheers,
Nicky




                                                Nicky Blumm (He/Him)
                                                Attorney
                                                Nicky.Blumm@lewisbrisbois.com

                                                T: 971.334.7009 F: 971.712.2801

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From: Blumm, Nicky <Nicky.Blumm@lewisbrisbois.com>
Sent: Wednesday, July 3, 2024 11:29 AM
To: JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Subject: RE: [EXT] Slevin v. AB Hollywood

Hi Jessica,

My client consents to filing the dismissal. Thank you.

                                                                                       2
                                                                                                                                                        EXHIBIT A
                                                                                                                                                          2 of 16
Nicky




                                                Nicky Blumm (He/Him)
                                                Attorney
                                                Nicky.Blumm@lewisbrisbois.com

                                                T: 971.334.7009 F: 971.712.2801

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From: JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Sent: Monday, July 1, 2024 3:48 PM
To: Blumm, Nicky <Nicky.Blumm@lewisbrisbois.com>
Subject: RE: [EXT] Slevin v. AB Hollywood


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Please see attached and let me know if it is acceptable to file.


                                                                                       3

                                                                                                                                                        EXHIBIT A
                                                                                                                                                          3 of 16
Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell


         On 07/01/2024 3:32 PM PDT Blumm, Nicky <nicky.blumm@lewisbrisbois.com> wrote:


         I will sign.

         Nicky




                                                         Nicky Blumm (He/Him)
                                                         Attorney
                                                         Nicky.Blumm@lewisbrisbois.com

                                                         T: 971.334.7009 F: 971.712.2801



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                                                                                                                                                         EXHIBIT A
                                                                                                                                                           4 of 16
From: JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Sent: Monday, July 1, 2024 3:29 PM
To: Blumm, Nicky <Nicky.Blumm@lewisbrisbois.com>
Cc: Armstrong, Iain <Iain.Armstrong@lewisbrisbois.com>
Subject: RE: [EXT] Slevin v. AB Hollywood


  EXTERNAL EMAIL - This email was sent by a person from outside your organization. Exercise caution when clicking links, opening attachments or taking further action, be
  validating its authenticity.



We are dismissing this case. I'll send over a Stipulated Dismissal shortly. Which of you will be signing?


Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell


         On 07/01/2024 1:49 PM PDT Blumm, Nicky <nicky.blumm@lewisbrisbois.com> wrote:


         Hi again Jessica,

         I am following up on my previous email regarding our settlement agreement. Are you able to send me a
         complete PDF version of the settlement agreement with your client’s signature?

         Thank you for your swift response.

         Cheers,
         Nicky


                                                                      5


                                                                                                                                          EXHIBIT A
                                                                                                                                            5 of 16
                                                Nicky Blumm (He/Him)
                                                Attorney
                                                Nicky.Blumm@lewisbrisbois.com

                                                T: 971.334.7009 F: 971.712.2801



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sender, then delete this email and any attachment from your computer and any of your electronic devices where the message is stored.




From: Blumm, Nicky <Nicky.Blumm@lewisbrisbois.com>
Sent: Thursday, June 20, 2024 2:41 PM
To: JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Cc: Armstrong, Iain <Iain.Armstrong@lewisbrisbois.com>
Subject: RE: [EXT] Slevin v. AB Hollywood

Hi Jessica,

Thank you for your email.

Would you mind sending an updated version of the complete PDF, including both the agreement and the
signature page? The updated version attached is exactly the same as the previous version which you signed,
except that this version contains an updated date by which payment is due.


                                                                   6


                                                                                                                                              EXHIBIT A
                                                                                                                                                6 of 16
Additionally, we require your client’s signature on the signature block, rather than your signature with the POA
notation. Consistent with model rules of professional conduct (see Rule 1.2 and 1.4), we need verification that
your client has reviewed the offer and accepts, given that his rights are directly affected by the settlement.

Appreciating your swift response.

Cheers,
Nicky


                                                                                                                                                                                                                                                                                                      Nicky Blumm (He/Him)
                                                                                                                                                                                                                                                                                                      Attorney
                                                                                                                                                                                                                                                                                                      Nicky.Blumm@lewisbrisbois.com

                                                                                                                                                                                                                                                                                                      T: 971.334.7009 F: 971.712.2801



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sender, then delete this email and any attachment from your computer and any of your electronic devices where the message is stored.
From: JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Sent: Tuesday, June 18, 2024 3:25 PM
To: Blumm, Nicky <Nicky.Blumm@lewisbrisbois.com>
Cc: Armstrong, Iain <Iain.Armstrong@lewisbrisbois.com>
Subject: RE: [EXT] Slevin v. AB Hollywood



Hell o, Pleas e see attac hed signature page. Thank you, Jessi ca Mollig an Attorney at Law PO Box 168 93 Portla nd, OR 97292 (9 71) 35 0-7347 O ffi ce (503) 9 75-292 0Cell On 06/1 3/2024 11:03 AM PDT Blumm, Nicky <nicky.blumm@lewisbrisbois .c om> wrote: Hi again Jessi ca , I generally revi




                                                                                                                                                                                                                                                                                                                  7
                                                                                                                                                                                                                                                                                                                                        EXHIBIT A
                                                                                                                                                                                                                                                                                                                                          7 of 16
Hello,
Please see attached signature page.


Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell


         On 06/13/2024 11:03 AM PDT Blumm, Nicky <nicky.blumm@lewisbrisbois.com>
         wrote:


         Hi again Jessica,

         I generally revised the agreement to remove superfluous sections and be more specific as to the
         obligations for my client. In the updated version (attached) I removed the “as to form”
         component per your request.

         Thank you.

         Cheers,
         Nicky




                                                Nicky Blumm (He/Him)
                                                Attorney
                                                Nicky.Blumm@lewisbrisbois.com

                                                T: 971.334.7009 F: 971.712.2801

                                                        8

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From: JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Sent: Wednesday, June 12, 2024 4:35 PM
To: Blumm, Nicky <Nicky.Blumm@lewisbrisbois.com>
Cc: Armstrong, Iain <Iain.Armstrong@lewisbrisbois.com>
Subject: RE: [EXT] Slevin v. AB Hollywood




The only "revision" I see is that you added my signature line "as to form." I don't
want that in there and don't see the need for it.


Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell




                                                         9

                                                                                                                                    EXHIBIT A
                                                                                                                                      9 of 16
On 06/12/2024 3:04 PM PDT Blumm, Nicky
<nicky.blumm@lewisbrisbois.com> wrote:


Hi again Jessica,

Apologies for the delay, it’s been a busy week.

Please find a revised Agreement attached. Once we have the signed version, we
will send the check.

Thanks in advance.

Cheers,
Nicky




                                                Nicky Blumm (He/Him)
                                                Attorney
                                                Nicky.Blumm@lewisbrisbois.com

                                                T: 971.334.7009 F: 971.712.2801



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                                                                                                                                                        EXHIBIT A
                                                                                                                                                         10 of 16
From: JESSICA MOLLIGAN <jessicamolligan@comcast.net>
Sent: Monday, June 10, 2024 6:58 PM
To: Blumm, Nicky <Nicky.Blumm@lewisbrisbois.com>
Cc: Armstrong, Iain <Iain.Armstrong@lewisbrisbois.com>
Subject: RE: [EXT] Slevin v. AB Hollywood




Hello,
Following up on the Settlement Agreement sent last Tuesday.


Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell


         On 06/04/2024 4:20 PM PDT JESSICA MOLLIGAN
         <jessicamolligan@comcast.net> wrote:


         Please see attached.


         Thank you,

         Jessica Molligan
         Attorney at Law
         PO Box 16893
         Portland, OR 97292

         (971) 350-7347 Office
                                    11


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                                                               11 of 16
(503) 975-2920 Cell


         On 06/04/2024 3:26 PM PDT Blumm,
         Nicky
         <nicky.blumm@lewisbrisbois.com>
         wrote:


         Hi Jessica,

         I am hoping to receive your proposed
         Settlement Agreement so that I can pass it to
         my client for approval. Thanks for your swift
         response.

         Cheers,
         Nicky




                                                        Nicky Blumm
                                                        Attorney
                                                        Nicky.Blumm@lewisbrisbois.com

                                                        T: 971.334.7009 F: 971.712.2801



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sender, then delete this email and any attachment from your computer and any of your electronic devices where the message is sto




From: JESSICA MOLLIGAN
<jessicamolligan@comcast.net>
Sent: Tuesday, June 4, 2024 10:11 AM
To: Blumm, Nicky
<Nicky.Blumm@lewisbrisbois.com>
Cc: Armstrong, Iain
<Iain.Armstrong@lewisbrisbois.com>
Subject: RE: [EXT] Slevin v. AB Hollywood




Nicky,
We agreed to settle this matter for
$1000 in attorney fees. If you mean the
Settlement Agreement, I should have
that over to you today.


Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell


         On 06/04/2024 10:07 AM
         PDT Blumm, Nicky
         <nicky.blumm@lewisbrisb
         ois.com> wrote:

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                                                                                                          EXHIBIT A
                                                                                                           13 of 16
Hi again Jessica,

When we spoke on Friday, you
mentioned that you would send
us a settlement offer. When can
my client expect to receive that
offer?

Thank you!

Cheers,
Nicky




                                                 Nicky Blumm
                                                 Attorney
                                                 Nicky.Blumm@lewisbrisbois.com

                                                 T: 971.334.7009 F: 971.712.2801



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                                                                                                EXHIBIT A
                                                                                                 14 of 16
From: Blumm, Nicky
<Nicky.Blumm@lewisbrisbois.c
om>
Sent: Thursday, May 30, 2024
6:40 PM
To: JESSICA MOLLIGAN
<jessicamolligan@comcast.net>
; Armstrong, Iain
<Iain.Armstrong@lewisbrisbois.
com>
Subject: Re: [EXT] Slevin v. AB
Hollywood

Hi Jessica,

I will give you a call before
9am tomorrow. My
apologies for the delay.


Thank you for your
patience.

Cheers,
Nicky
                                  Nicky Blumm
                                  Attorney
                                  Nicky.Blumm@lewisbrisbois.com

                                  T: 971.334.7009 F: 971.712.2801



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sender, then delete this email and any attachment from your computer and any of your electronic devices where the mess


From: JESSICA MOLLIGAN
<jessicamolligan@comcast.net>
Sent: Thursday, May 30, 2024
5:51:19 PM
To: Blumm, Nicky
<Nicky.Blumm@lewisbrisbois.c
om>; Armstrong, Iain
<Iain.Armstrong@lewisbrisbois.
com>
Subject: [EXT] Slevin v. AB
Hollywood


Hello,
I was really hoping to hear
back from one of you by
now. When do you think
you would be able to get
back to me?


Thank you,

Jessica Molligan
Attorney at Law
PO Box 16893
Portland, OR 97292

(971) 350-7347 Office
(503) 975-2920 Cell




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                                                                                                EXHIBIT A
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